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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 QORVO, INC.,                                    )
                                                 )
                         Plaintiff,              )
                                                 )
          v.                                     )   C.A. No. ____________________
                                                 )
 AKOUSTIS TECHNOLOGIES, INC. and                 )   DEMAND FOR JURY TRIAL
 AKOUSTIS, INC.,                                 )
                                                 )
                         Defendants.             )

                                          COMPLAINT

         Plaintiff, Qorvo, Inc. (“Plaintiff” or “Qorvo”), by and through its attorneys, brings this

action for damages, injunctive relief and declaratory relief against Akoustis Technologies, Inc. and

Akoustis, Inc. (collectively “Defendants” or “Akoustis”) and alleges as follows:

I.       NATURE OF THE ACTION

         1.     This is an action for patent infringement, false advertising, false patent marking,

and unfair competition respectively arising under the patent laws of the United States, 35 U.S.C.

§ 1, et seq., the Lanham Act, 15 U.S.C. § 1125, and under North Carolina law.

II.      PARTIES

         2.     Plaintiff is a Delaware corporation with its principal place of business at 7628

Thorndike Road, Greensboro, North Carolina 27409.

         3.     Defendant Akoustis Technologies, Inc. is a Delaware corporation with its principal

place of business at 9805 Northcross Center Court, Suite A, Huntersville, North Carolina, 28078.

The Delaware registered agent for Akoustis Technologies, Inc. is Corporation Service Company,

251 Little Falls Drive, Wilmington, DE 19808.

         4.     Defendant Akoustis, Inc. is a Delaware corporation with its principal place of

business located at 9805 Northcross Center Court, Suite A, Huntersville, North Carolina, 28078.
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The Delaware registered agent for Akoustis, Inc. is Corporation Service Company, 251 Little Falls

Drive, Wilmington, DE 19808.

III.      JURISDICTION AND VENUE

          5.    This Court has subject matter jurisdiction over Qorvo’s patent infringement and

false marking claims pursuant to 28 U.S.C. §§ 1331 and 1338(a), because they arise under the laws

of the United States, specifically those relating to the infringement of U.S. patents, 35 U.S.C. § 1,

et seq.

          6.    This Court has subject matter jurisdiction over Qorvo’s Lanham Act claims

pursuant to 28 U.S.C. §§ 1331, because they arise under the laws of the United States, specifically

those related to the Lanham Act, 15 U.S.C. §§ 1051, et seq.

          7.    This Court also has supplemental jurisdiction over Qorvo’s state law claims

pursuant to 28 U.S.C. §1367, because the supplemental state law claims arise out of the same case

or controversy as the federal claims over which this Court has original jurisdiction.

          8.    Akoustis is subject to this Court’s personal jurisdiction, at least because Akoustis

is incorporated, organized, and existing under the laws of the State of Delaware and has a registered

agent in Wilmington, Delaware.

          9.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 and 28 U.S.C.

§ 1400(b) at least because Akoustis resides in this district.

IV.       FACTUAL BACKGROUND

          A.    Qorvo

          10.   Qorvo is a leader in the development and commercialization of technologies and

products for wireless and wired connectivity. Qorvo combines a broad portfolio of innovative

radio frequency (“RF”) solutions, highly differentiated semiconductor technologies, systems-level




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expertise and global manufacturing to supply to a diverse set of customers a broad range of

products that enable a more connected world.

       11.     Qorvo was formed on January 1, 2015 as a result of the merger between TriQuint

Semiconductor (“TriQuint”) and RF Micro Devices (“RFMD”), which were formed in 1985 and

1991, respectively. Qorvo is headquartered in Greensboro, North Carolina.

       12.     Qorvo operates in a highly competitive industry characterized by rapid advances in

technology and new product introductions. Qorvo’s continued success therefore depends in

substantial part on its constant attention to research and development and the creation of new

technologies. Each year, Qorvo invests significant resources on research and development

activities to develop the most innovative and highest quality products in the markets in which it

operates, and to establish the most efficient, repeatable, and highest quality manufacturing

processes to support those products.

       13.     Qorvo’s success depends in part on its ability to improve its products and processes

faster than its competitors, anticipate changing customer requirements, and successfully develop

and launch new products while reducing costs.

       14.     As part of its research and development, Qorvo has produced, among other cutting-

edge technologies, a wide range of novel technologies and processes directed to thin-film bulk

acoustic wave (BAW) resonator filters.

       15.     BAW resonator filters, or BAW filters, are a vital component in advanced radio

frequency filtering solutions for wireless devices, as well as the world's most advanced radar and

communications systems.      This is because wireless devices communicate in particularized

frequency bands in the electromagnetic spectrum that are assigned by government entities to

prevent interference between different devices and service providers. Thus, because devices using




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nearby frequencies could create interference, it is important to filter out signals, through BAW

filters, from those frequencies that are irrelevant to a particular device (i.e., communications in

frequency bands above or below that assigned to the device) to improve communications efficacy.

       16.     The rapid growth of wireless devices has created an increasing demand for

bandwidth, resulting in different devices using immediately adjacent bands.            Thus, filter

effectiveness has become a critical requirement. Moreover, prior filter designs were relatively less

effective for removing unwanted frequencies. Thus, demand for more effective filters has greatly

increased.

       17.     Qorvo’s current BAW filter offerings are the result of many years of intensive,

dedicated, and expensive research, design, development, testing, and refinement.

       18.     Qorvo’s BAW filters are industry leading.        Qorvo’s BAW filters have been

instrumental in awards received by Qorvo, including the 2015 Corporate Innovation Award (for

its development of RF solutions, including BAW technology), the 2020 World Electronic

Achievement Award (for Qorvo’s QM28014 antennaplexer, which utilizes Qorvo BAW filters),

and the 2020 GTI Innovative Breakthrough Award (for Qorvo’s RF Fusion™ 5G chipset, which

utilizes Qorvo BAW filters). Qorvo’s substantial research and development investment was (and

remains) key to gaining its current position in the market and BAW filters enjoy competitive

performance advantages because of such investment.

       19.     Qorvo protects its investments in its technology and products, including its BAW

filter products, by, among other things, maintaining information regarding its products as

confidential and proprietary information and filing patent applications.

       20.     Examples of Qorvo’s confidential and proprietary information include, but are not

limited to, technical expertise and know-how, such as BAW filter designs, specifications,




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development methods and techniques, material specifications, design tolerances, packaging,

quality assurance and testing, manufacturing specifications, methods, and techniques; and business

information, such as future product development and refinement plans, pricing information, cost

information, marketing and sales strategies, internal organization structures, employee

information, and capabilities, as well as supplier lists, customer lists, contracts, demands, desires,

and requirements related to the BAW filters (together referred to herein as the “Qorvo BAW

Proprietary Information”).

       21.     Qorvo has invested significant time and money developing, maintaining, and

protecting the Qorvo BAW Proprietary Information. The Qorvo BAW Proprietary Information is

strategic, proprietary information that is not generally known to the public and would not be

ascertainable without the expenditure of substantial time, effort, and resources.

       22.     The Qorvo BAW Proprietary Information has significant independent economic

value, potential and actual, as a result of not being generally known or readily ascertainable,

including by those in the industry. The Qorvo BAW Proprietary Information would be particularly

valuable to Akoustis as a start-up company trying to enter the highly competitive BAW filter

market.

       23.     To protect its valuable intellectual property, Qorvo often seeks patent protection.

Qorvo has applied for and has been awarded over 3,000 patents in the United States and abroad

through its history (including through TriQuint and RFMD), and including hundreds of patents

related to its BAW filter technology.

       24.     Two of these patents, U.S. Patent Nos. 7,522,018 (the “’018 Patent”) and 9,735,755

(the “’755 Patent”) describe important structural features of BAW filters that enable the

performance required by today’s wireless devices. A copy of each patent (collectively, the




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“Patents-in-Suit”) is attached hereto as Exhibits A (the ’018 Patent) and Exhibit B (the

’755 Patent).

       25.       The ’018 Patent (Exhibit A), entitled “Electro-Acoustic Resonator With A Top

Electrode Layer Thinner Than A Bottom Electrode Layer,” was duly and legally issued on April

21, 2009 from an application filed on December 4, 2003, naming Robert Milsom and Hans-Peter

Löbl as the inventors.

       26.       The ’018 Patent claims priority to European Application No. 02258613, filed

December 13, 2002.

       27.       Qorvo owns, by assignment, all substantial right, title, and interest in and to the

ʼ018 Patent.

       28.       Pursuant to 35 U.S.C. § 282, the ʼ018 Patent is presumed valid.

       29.       Claim 1 of the ’018 Patent reads as follows:

                 1. Electro-acoustic resonator (1, 8, 17) comprising a membrane structure
                 FBAR (1) with a layer structure comprising a piezoelectric layer (5, 14, 24)
                 and a top (6, 15, 25) and a bottom (4, 13, 23) electrode layer, with the
                 thickness (T1, T2, . . . T6) of the two electrode layers being unequal,
                 characterised in that the top electrode layer (Tl, T3, TS) is thinner than the
                 bottom (T2, T 4, T6) electrode layer to increase a filter bandwidth of the
                 electro-acoustic resonator.

       30.       The ’755 Patent (Exhibit B), entitled “BAW Resonator Having Lateral Energy

Confinement And Methods of Fabrication Thereof,” was duly and legally issued on August 15,

2017 from an application filed on October 6, 2015, naming Gernot Fattinger and Alireza Tajic as

the inventors.

       31.       The ’755 Patent claims priority to provisional application No. 62/207,702, filed

August 20, 2015.


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       32.     Qorvo owns, by assignment, all substantial right, title, and interest in and to the

ʼ755 Patent.

       33.     Pursuant to 35 U.S.C. § 282, the ʼ755 Patent is presumed valid.

       34.     Claim 9 of the ’755 Patent reads as follows:

               9. A BAW resonator comprising:
               a piezoelectric layer;
               a first electrode on a first surface of the piezoelectric layer;
               a second electrode on a second surface of the piezoelectric layer opposite
               the first electrode on the first surface of the piezoelectric layer;
               a passivation layer on a surface of the second electrode opposite the
               piezoelectric layer within an active region of the BAW resonator, the
               passivation layer having a thickness (TPA) within the active region of the
               BAW resonator; and
               one or more material layers on the second surface of the piezoelectric layer
               adjacent to the second electrode in an outer region of the BAW resonator,
               the outer region of the BAW resonator being a region outside of the active
               region of the BAW resonator and the one or more material layers having a
               thickness that is n times the thickness (TPA) of the passivation layer within
               the active region, wherein:
               n is a value other than 1; and
               n is such that the outer region of the BAW resonator and the active region
               of the BAW resonator are acoustically matched in such a manner that one
               or more wavelengths that cause energy leakage into the outer region are not
               excited in the active region.

       35.     Qorvo’s considerable investment in the development, manufacturing, and

marketing of its BAW filters, as well as its efforts to maintain the confidentiality of the Qorvo

BAW Proprietary Information and patent other innovations related to its BAW filters—such as

through the Patents-in-Suit—has resulted in substantial sales for Qorvo in the BAW filter market.



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       36.     Qorvo’s business is also dependent on its ability to attract and keep key technical

personnel and management.       Qorvo has invested substantial time, effort, and expense in

developing and training its employees’ knowledge and experience in the areas crucial to Qorvo’s

BAW filter technologies, including in RF engineering, integrated circuit and filter design, and

technical marketing and support.

       B.      Akoustis

       37.     Defendant Akoustis was founded in 2014 by Jeffrey B. Shealy, Steven P. Denbaars,

and Richard T. Ogawa.

       38.     Mr. Shealy was, from October 2001 through February 2014, a vice-president of

RFMD which, together with TriQuint, merged to become Qorvo in 2015. By virtue of his

leadership role at RFMD, Mr. Shealy had extensive knowledge of RFMD’s and Qorvo’s

operations, business strategies, patents, and personnel as of the date of his departure from Qorvo

to form Akoustis.

       39.     Mr. Shealy also sits on Akoustis’ Board of Directors, a majority of which are ex-

Qorvo employees. Beyond Mr. Shealy, Co-Chairman Jerry D. Neal founded RFMD in 1991 and

served in various leadership roles, including as Executive Vice President of Marketing and

Strategic Development at the time of his departure. Board member Arthur E. Geiss was Vice

President of Wafer Fab Operations at RFMD until his departure. Board member Suzanne Rudy

was Vice President of Tax and Corporate Treasurer, Compliance Officer, and Assistant Secretary

at Qorvo at the time of her departure. Mr. Neal, Mr. Geiss, and Ms. Rudy had extensive knowledge

of Qorvo’s (including RFMD’s) operations, business strategies, patents, and personnel as of their

dates of departure.

       40.     Akoustis was formed specifically to compete with Qorvo (and its predecessor

companies) in the BAW filter market. While Akoustis describes itself as being focused on


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“developing, designing, and manufacturing … RF filter products for the wireless industry,” its

current product offerings are narrowly limited to what it calls its “3-7 GHz BAW RF filter

portfolio.”

           41.   Akoustis’ “3-7 GHz BAW RF filter portfolio” currently includes twelve BAW

filters.             See       ALL        PRODUCTS          -      AKOUSTIS          TECHNOLOGIES,

https://akoustis.com/products/filters/applications/all-products/ (last visited Sept. 14, 2021).

           42.   Akoustis’ BAW filters compete with Qorvo’s BAW filters.

           43.   While Qorvo’s design and development of BAW filters has taken many years and

great expense, Akoustis was able to design and qualify its 3-7 GHz BAW RF filter portfolio from

scratch in just a few years and with just a fraction of the number of Qorvo’s employees and a

fraction of the amount of Qorvo’s research and development investment. To do so, Akoustis

improperly leveraged Qorvo’s intellectual property, including the Patents-in-Suit and the Qorvo

BAW Proprietary Information, as obtained by its systematic poaching of Qorvo’s employees.

           44.   Akoustis built its 3-7 GHz BAW RF filter portfolio using Qorvo’s patented

technology. Each of Akoustis’ BAW filters identified above infringes the Patents-in-Suit. Each

of Akoustis’ BAW filters uses the structural configurations disclosed and claimed by the Patents-

in-Suit to provide the performance necessary to compete in the BAW filter market. On information

and belief, Akoustis has been aware of Qorvo’s patent portfolio throughout its existence, including

specifically the Patents-in-Suit.

           45.   On information and belief, Akoustis has also used the Qorvo BAW Proprietary

Information to design, manufacture, market, and sell its BAW filters, and to otherwise develop its

technological know-how.




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       C.       Akoustis’ Poaching of Qorvo Employees

       46.      Since its inception, Akoustis has engaged in conscious, methodical, and systematic

recruitment and solicitation of Qorvo’s employees in all major areas. Indeed, and beyond a

majority of its board being ex-Qorvo employees, Akoustis has poached over twenty key

employees, including crucial personnel from engineering, operations, sales, quality control and

testing, packaging, and management.

       47.      On information and belief, Akoustis recruited ex-Qorvo employees for positions

with largely overlapping responsibilities to their positions at Qorvo, focusing on employees with

the specialized knowledge of Qorvo’s confidential and proprietary information, including the

Qorvo BAW Proprietary Information, that Akoustis needed at the particular stage of its

development. For example, Qorvo focused on those Qorvo employees with business development

and BAW filter design experience when it was initially defining and designing its products, and

then focused on those Qorvo employees with quality, manufacturing, and management expertise

as it moved from product design to manufacture and sales.

       48.      As examples, since its formation, Akoustis has poached Qorvo employees (the “Ex-

Qorvo BAW Employees”) with the following job titles/descriptions.

                 Job Title                                  Job Description
 1                                    developed, coordinated, and implemented plans designed
             Director, Business
                                      to increase existing business and capture new
               Development
                                      opportunities
 2                                    evaluated and characterized high power and mm-wave
                                      GaN RF technologies; supported foundry customers in
                                      evaluation and selection of RFMD GaAs and GaN
                                      semiconductor processes; planned, implemented, and
             Device Engineer
                                      managed GaN device performance and reliability projects;
                                      generated production test plans for customer discrete FET
                                      and MMIC designs; developed and supported customer
                                      qualification tests




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                 Job Title                               Job Description
 3                                   analyzed BAW resonator electrical data and metrology
                                     data; developed new processes on plasma platforms;
        Plasma Process Engineer      improved process reliability; demonstrated proficiency in
                                     design of experiment, statistical process control, and
                                     model based problem solving
 4                                   managed customer concerns and ensured their
                                     satisfaction; traveled extensively to train local teams and
       Customer Quality Manager      to work with customers; lead team responsible for
                                     chemical compliance monitoring and reporting
 5                                   managed all federal, foreign, and state & local income tax
                                     filings; managed audit activities; responsible for corporate
             Senior Tax Manager      cash planning, investment, and funds management;
                                     managed all sales and use and property tax functions for
                                     the US; and responsible for expatriate tax compliance
 6                                   managed implementation of SAP integrated business
        Senior Business Analyst,     planning; supported planning team regarding demand and
                SAP IBP              supply; assisted with revenue planning and margin
                                     analysis
 7    Director of Infrastructure and evaluated  current and future enterprise infrastructure
           Defense Packaging         needs
 8        Senior BAW Design          responsible for the research and design of new BAW
                Engineer             products and systems
 9                                   responsible for the execution of in-house and external
             Senior Planner          prototype assembly
 10                                  responsible for hardware and software development for
                                     2G/3G/4G power amplifiers; developed production test
        Senior RF Test Engineer      solutions; performed production line debug and efficiency
                                     optimization; performed product data analysis; and
                                     performed production
 11                                  acted as the representative to premier customers; provided
        Senior Customer Quality      strategic direction and leadership; and knowledgeable in
               Engineer              quality, design, supply chain, product engineering, sales,
                                     and marketing
 12      Manager, BAW R&D,           managed technology divisions and BAW research and
             Technology              development


       49.      Each of the Ex-Qorvo BAW Employees identified above had routine and repeated

access to one or more categories of the Qorvo BAW Proprietary Information.




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       50.    On information and belief, numerous Ex-Qorvo BAW Employees who are now

employed by Akoustis were aware of the Patents-in-Suit during their work at Qorvo. For example,

the Ex-Qorvo BAW Employees include employees who formerly worked in the same department

at Qorvo as the inventors of the Patents-in-Suit and those Ex-Qorvo BAW Employees now work

in a similar department at Akoustis that is involved in developing the technology embodied in the

Accused Products. As part of their former employment with Qorvo, these Ex-Qorvo BAW

Employees would have been aware of the Patents-in-Suit. This knowledge then transferred to

Akoustis when they became Akoustis employees.

       51.    Additionally, on information and belief, Akoustis has had knowledge of the

Patents-in-Suit because a number of senior executives of Akoustis were executives at Qorvo (or

one of its predecessor companies, such as RFMD) at the time when the Patents-in-Suit were issued

or acquired. On information and belief, these former Qorvo executives had knowledge of the

Patents-in-Suit in connection with their positions at Qorvo and brought that knowledge to

Akoustis.

       52.    The Ex-Qorvo BAW Employees entered into non-disclosure agreements as a

condition of their employment. The non-disclosure agreements require the Ex-Qorvo BAW

Employees not to use, take, or disclose Qorvo’s confidential information, including the Qorvo

BAW Proprietary Information, without authorization.

       D.     Akoustis Misappropriated the Qorvo BAW Proprietary Information Via Its
              Systematic Poaching of the Ex-Qorvo BAW Employees.

       53.    Akoustis has, on information and belief, misappropriated the Qorvo BAW

Proprietary Information to shortcut the hard work of building an innovative company and to

shorten the typical time to market for new products in the relevant market. For example, Akoustis

has poached the Ex-Qorvo BAW Employees for employment in positions with substantial



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responsibility overlap to those employees’ previous roles at Qorvo. On information and belief, the

Ex-Qorvo BAW Employees were hired for the specific purpose of using their knowledge of the

Qorvo BAW Proprietary Information to permit Akoustis to compete directly against Qorvo for

customers and market share.

       54.     On at least one instance, recruiters for Akoustis expressly asked a Qorvo employee

to disclose Qorvo BAW Proprietary Information during the recruitment process. More specifically,

recruiters for Akoustis asked this Qorvo employee to access Qorvo BAW Proprietary Information

from Qorvo’s computer systems and share that information on a screen so that Akoustis could

obtain the confidential information.

       55.     The sheer number of highly-knowledgeable and qualified Qorvo employees

poached by Akoustis over its history has resulted in Akoustis inevitably using their knowledge and

experience, including the Qorvo BAW Proprietary Information. It is highly probable—and on

information and belief, inevitable—that Akoustis has used, relied upon, and exploited the Ex-

Qorvo BAW Employees’ knowledge of the Qorvo BAW Proprietary Information.

       56.     By using the Qorvo BAW Proprietary Information, Akoustis has gained an unfair

advantage, enabling Akoustis to enter the BAW filter market more quickly than it could have

without the Qorvo BAW Proprietary Information and/or other proprietary or confidential

information of Qorvo.

       57.     On information and belief, Akoustis has used, continues to use, has inevitably used,

or will inevitably use, the Qorvo BAW Proprietary Information via the Ex-Qorvo BAW

Employees in connection with Akoustis’ design, development, manufacture, and qualification of

its BAW filters.




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       58.     Accordingly, Akoustis has improperly built its 3-7 GHz BAW RF filter portfolio,

and created related business opportunities, based on the Qorvo BAW Proprietary Information.

       E.      Akoustis Engages in False Advertising and False Patent Marking By Falsely
               Describing its BAW Filters as “Single-Crystal”

       59.     Akoustis’ unfair competition has also extended to making false and misleading

statements about the characteristics of its BAW filters in an attempt to derive an unfair competitive

advantage over competing products including Qorvo products.

       60.     Akoustis repeatedly promotes and asserts in advertisements, marketing and related

materials including investor brochures that its BAW filters use “single-crystal” piezoelectric

layers, which it refers to as “XBAW™ technology.”

       61.     For example, this alleged differentiation is prominent on Akoustis’ website blog,

as   shown      below     (see    AKOUSTIS      GOES     LIVE    –    AKOUSTIS      TECHNOLOGIES,

https://akoustis.com/akoustis-goes-live/ (last visited Sept. 14, 2021)).




       62.     Akoustis makes similar claims in its press releases, such as the Press Release related

to the AKF-1938 Filter (see AKOUSTIS EXPANDS COMMERCIAL PRODUCT PORTFOLIO WITH NEW

3.8 GHZ BAW RF FILTER :: AKOUSTIS TECHNOLOGIES, INC. (AKTS), https://ir.akoustis.com/news-




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events/press-releases/detail/90/akoustis-expands-commercial-product-portfolio-with-new-3-8

(last visited Sept. 14, 2021)), as shown below.




       63.     Further, in product datasheets for each of the twelve BAW filters identified above

that are currently offered for sale on its website (see ALL PRODUCTS – AKOUSTIS TECHNOLOGIES,

https://akoustis.com/products/filters/applications/all-products/ (last visited Sept. 14, 2021)),

Akoustis states that the filters utilize “Akoustis’ patented, XBAW technology which provides

leading RF filter performance” and that U.S. Patent No. 10,256,786 (the “’786 Patent”) covers that

BAW filter.

       64.     U.S. Patent No. 10,256,786 is titled “Communication Filter Using Single Crystal

Acoustic Resonator Devices.” The independent claims of U.S. Patent No. 10,256,786 define

piezoelectric layers, and the disclosure of U.S. Patent No. 10,256,786 and Akoustis’ statements

make clear that these recited piezoelectric layers are single-crystal.

       65.     Akoustis relies on its descriptions of its filters as “single-crystal” and the related

marking of those filters with U.S. Patent No. 10,256,786 to attract customers and prospective

customers in conjunction with its claims that single-crystal piezoelectric materials drive superior

performance as compared to polycrystalline technology, such as is used in competitor’s BAW

filters, including by Qorvo. However, Akoustis’ BAW filter products are not “single crystal.”

They are polycrystalline.




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         F.    Akoustis Engages In Unfair Competition By Promoting Its Infringing,
               Misappropriated, and Falsely Advertised Products to Qorvo Customers

         66.   On information and belief, Akoustis has competed with Qorvo and has attempted

to persuade Qorvo’s customers to replace Qorvo BAW filters with Akoustis’ BAW filters that: (i)

infringe the Patents-in-Suit; (ii) were developed with the Qorvo BAW Proprietary Information;

and (iii) are falsely advertised as “single-crystal” and marked with U.S. Patent No. 10,256,786.

V.       CLAIMS FOR RELIEF

         A.    Count I - Infringement of U.S. Patent No. 7,522,018 (the ’018 Patent)

         67.   Qorvo incorporates by reference the allegations of paragraphs 1 through 66 set forth

above.

         68.   Akoustis infringes the ’018 Patent under 35 U.S.C. § 271(a), by making, using,

selling, or offering for sale the 3-7 GHz BAW RF filter portfolio including, but not limited to its

5.2 GHz RF BAW filters (i.e., AKF-1252), 5.6 GHz RF BAW filters (i.e., AKF-1256), 3.6 GHz

CBRS bandpass BAW filters (i.e., AKF-1336), and 3.5 GHz 5G coexistence BAW filters (i.e.,

AKF-10235) and related products (collectively the “Accused Products”), each of which utilizes

the inventions disclosed and claimed in the ’018 Patent. On information and belief, each of the

Accused Products is of similar design and construction as it pertains to the ’018 Patent.

         69.   Qorvo recently acquired a sample Accused Product, conducted testing and analysis

on it, and determined that it meets all of the limitations of one or more claims of the ’018 Patent.

As an example, Akoustis directly infringes at least independent claim 1 of the ’018 Patent. The

Accused Products are film bulk acoustic resonators (“FBAR”) that have a membrane structure

FBAR with a layer structure including a piezoelectric layer and a top and a bottom electrode layer.

         70.   Like claim 1, the Accused Products are configured with thicknesses of the two

electrode layers being unequal, characterized in that the top electrode layer is thinner than the



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bottom electrode layer. By way of example, the Akoustis AKF-10235 BAW Filter has a top

electrode layer that is averages about110 nm thick and a bottom electrode layer that averages about

129 nm thick. On information and belief, the other Accused Products similarly have piezoelectric

layers and top electrode layers that are thinner than their bottom electrode layers.

       71.     To the extent required by claim 1, the Accused Products have increased filter

bandwidth performance. By way of example, increased filter bandwidth performance of the

Akoustis AKF-10235 BAW Filter is shown in the below graph taken from the AKF-10235 Data

Sheet. On information and belief, the other Accused Products similarly have increased filter

bandwidth performance.




       72.     Thus, Akoustis has infringed, and continues to infringe, at least claim 1 of the ’018

Patent in violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

the Accused Products that are covered by one or more claims of the ’018 Patent.




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       73.     On information and belief, Akoustis has been and is inducing infringement of

the’018 Patent in violation of 35 U.S.C. § 271(b) at least by actively and knowingly inducing its

customers to, literally or under the doctrine of equivalents, make, use, sell, and/or offer for sale in

the United States, and/or import into the United States, products incorporating the Accused

Products which utilize the inventions disclosed and claimed in the ’018 Patent. Specifically,

Akoustis induces infringement of the ’018 Patent by publishing instructions on its website

instructing third parties on how to use the Accused Products.            These instructions include

recommendations for customers of the Accused Products on how to solder and package the

Accused Products as part of customer systems. Akoustis’ intent is further demonstrated by PCB

diagrams published on its website that instruct customers on PCB metal, solder mask, and stencil

pattern layouts for implementing the Accused Products in infringing systems.

       74.     As of the introduction of the Accused Products, Akoustis has had knowledge of the

’018 Patent and Akoustis’ infringement thereof, because the Ex-Qorvo BAW Employees,

including former executives of Qorvo who are now executives of Akoustis, knew of the ’018 patent

and brought that knowledge to Akoustis. Akoustis also has known and knows that its customers’

use, sale, and offering for sale of the Accused Products constitutes infringement of at least claim

1 of the ’018 Patent for the same reasons set forth above.

       75.     Akoustis’ infringement of the ’018 patent is willful, deliberate, and intentional, and

Akoustis is acting in reckless disregard of Qorvo’s patent rights.

       76.     Because of Akoustis’ infringement of the ’018 patent, Qorvo has suffered and will

continue to suffer irreparable harm and injury, including monetary damages in an amount to be

determined at trial.




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         77.   Unless enjoined, Akoustis, and/or others acting on behalf of Akoustis, will continue

their infringing acts, thereby causing additional irreparable injury to Qorvo for which there is no

adequate remedy at law.

         78.   Akoustis’ actions render this an exceptional case and entitle Qorvo to attorneys’

fees and costs under 35 U.S.C. § 285.

         B.    Count II - Infringement of U.S. Patent No. 9,735,755 (the ’755 Patent)

         79.   Qorvo incorporates by reference the allegations of paragraphs 1 through 78 set forth

above.

         80.   Akoustis infringes the ’755 Patent under 35 U.S.C. § 271(a) by making, using,

selling, or offering for sale the 3-7 GHz BAW RF filter portfolio including, but not limited to, its

5.2 GHz RF BAW filters (i.e., AKF-1252), 5.6 GHz RF BAW filters (i.e., AKF-1256), 3.6 GHz

CBRS bandpass BAW filters (i.e., AKF-1336), and 3.5 GHz 5G coexistence BAW filters (i.e.,

AKF-10235), along with related products (collectively, and as defined above, the “Accused

Products”), which utilize the inventions disclosed and claimed in the ’755 Patent. On information

and belief, the Accused Products are of similar design and construction as it pertains to the

’755 Patent.

         81.   Qorvo recently acquired a sample Accused Product, conducted testing and analysis

on it, and determined that it meets all of the limitations of one or more claims of the ’755 Patent.

As an example, Akoustis directly infringes at least independent claim 9 of the ’755 Patent. The

Accused Products are BAW resonators comprising a piezoelectric layer, a first electrode on a first

surface of the piezoelectric layer, a second electrode on a second surface of the piezoelectric layer

opposite the first electrode.

         82.   To render a surface of the second electrode inert, the Accused Products include a

passivation layer. The passivation layer is on the surface of the second electrode opposite the


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piezoelectric layer within an active region of the BAW resonators. The passivation layer has a

thickness (TPA) within the active region of the BAW resonators.

       83.       The Accused Products further include one or more material layers on the second

surface of the piezoelectric layer adjacent to the second electrode in an outer region of the BAW

resonators. The outer region of the BAW resonators is a region outside of the active region of the

BAW resonators. The one or more material layers have a thickness that is n times the thickness

(TPA) of the passivation layer within the active region, wherein: n is a value other than 1. For

example, the Akoustis AKF-10235 BAW Filter has one or more material layers outside an active

region with a thickness of about 1.5 to 1.6 times a thickness of the passivation layer within the

active region.

       84.       In the Accused Products, “n” is such that the outer region of the BAW resonators

and the active region of the BAW resonators are acoustically matched in such a manner that the

energy of the one or more acoustic wavelengths leaked into the outer region is not excited in the

active region.

       85.       Thus, Akoustis has infringed, and continues to infringe, at least claim 9 of the ’755

Patent in violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

the Accused Products that are covered by one or more claims of the ‘755 Patent.

       86.       On information and belief, Akoustis has been and is inducing infringement of the

’755 Patent in violation of 35 U.S.C. § 271(b) at least by actively and knowingly inducing its

customers to, literally or under the doctrine of equivalents, make, use, sell, and/or offer for sale in

the United States, and/or import into the United States, products incorporating the Accused

Products which utilize the inventions disclosed and claimed in the ’755 Patent. Specifically,




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Akoustis induces infringement of the ’755 Patent by publishing instructions on its website

instructing third parties on how to use the Accused Products.           These instructions include

recommendations for customers of the Accused Products on how to solder and package the

Accused Products as part of customer systems. Akoustis’ intent is further demonstrated by PCB

diagrams published on its website that instruct customers on PCB metal, solder mask, and stencil

pattern layouts for implementing the Accused Products in infringing systems.

       87.      As of the introduction of the Accused Products, Akoustis has had knowledge of

the ’755 Patent and Akoustis’ infringement thereof, because the Ex-Qorvo BAW Employees,

including former executives of Qorvo who are now executives of Akoustis, knew of the ’755 patent

and brought that knowledge to Akoustis. Akoustis also has known and knows that its customers’

use, sale, and offering for sale of the Accused Products constitutes infringement of at least claim

9 of the ’755 Patent for the same reasons set forth above.

       88.     Akoustis’ infringement of the ’755 patent is willful, deliberate, and intentional, and

Akoustis is acting in reckless disregard of Qorvo’s patent rights.

       89.     Because of Akoustis’ infringement of the ’755 patent, Qorvo has suffered and will

continue to suffer irreparable harm and injury, including monetary damages in an amount to be

determined at trial.

       90.     Unless enjoined, Akoustis, and/or others acting on behalf of Akoustis, will continue

their infringing acts, thereby causing additional irreparable injury to Qorvo for which there is no

adequate remedy at law.

       91.     Akoustis’ actions render this an exceptional case and entitle Qorvo to attorneys’

fees and costs under 35 U.S.C. § 285.




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         C.    Count III - Lanham Act False Advertising Under 15 U.S.C. § 1125(a).

         92.   Qorvo incorporates by reference the allegations of paragraphs 1 through 91 set forth

above.

         93.   Akoustis describes its BAW filters as being “single crystal” construction, which

misrepresents the nature, characteristics, and/or qualities of Akoustis’ BAW filters and constitutes

false advertising in violation of 15 U.S.C. § 1125(a).

         94.   Akoustis’ description of its BAW filters as being “single crystal” is made in

commercial advertising or promotion, including via Akoustis’ website, presentations, and press

releases. Akoustis also describes its BAW filters as being “single crystal” in its SEC filings.

         95.   Akoustis falsely or misleadingly represents to the consuming public, customers,

potential customers (collectively, the “target customers”) and investors that Akoustis’ BAW filters

are of a “single crystal” construction to support a claim of superior performance over the

competition. However, Akoustis’ BAW filters are, in fact, polycrystalline.

         96.   Akoustis’ false or misleading representations that its BAW filters are “single

crystal” actually deceives a substantial portion of the target customers, or has the tendency to

deceive the target customers.

         97.   On information and belief, Akoustis used its false or misleading representations of

its BAW filters as “single-crystal” to promote and advertise that it has better technology than

Qorvo, or that its BAW filters have better performance than Qorvo’s filters. Akoustis’ false or

misleading representations that its BAW filters are “single crystal” are material because they are

likely to influence the purchasing decisions of the target customers.

         98.   Akoustis’ false or misleading representations that its BAW filters are “single

crystal” involves BAW filters that are advertised, promoted, sold, and distributed in interstate

commerce, including via Akoustis’ website.


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            99.    Akoustis’ false or misleading representations that its BAW filters are “single

crystal” have competitively injured, and are likely to further competitively injure, Qorvo by

diverting sales from target customers and through loss of their goodwill.

            100.   Akoustis knows that its representations of its BAW filters as being of a “single

crystal” construction are false or misleading.

            101.   Akoustis’ false or misleading representations of fact are done with bad faith and

malice or reckless indifference to Qorvo’s and consumers’ interests.

            102.   Based upon the above wrongful acts of Akoustis, Qorvo has incurred monetary

damages through the diversion of sales and loss of goodwill in an amount to be fully demonstrated

at trial.

            103.   Akoustis’ intentional and bad faith or misleading representations of fact will

continue until enjoined by this Court.

            104.   Qorvo is entitled to preliminary and permanent injunctive to prevent Defendant’s

continued false advertising.

            D.     Count IV – False Patent Marking Under 35 U.S.C. § 292

            105.   Qorvo incorporates by reference the allegations of paragraphs 1 through 104 set

forth above.

            106.   Akoustis has marked each of the Accused Products with U.S. Patent No. 10,256,786

on datasheets available on its website (see ALL PRODUCTS – AKOUSTIS TECHNOLOGIES,

https://akoustis.com/products/filters/applications/all-products/ (last visited Sept. 14, 2021)).

            107.   The independent claims of U.S. Patent No. 10,256,786 recite piezoelectric layers.

Based on the disclosure of U.S. Patent No. 10,256,786 and Akoustis’ statements, the recited

piezoelectric layers are single-crystal.




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       108.    However, Akoustis’ BAW filter products are not “single-crystal.”           They are

polycrystalline. On information and belief, Akoustis regularly tests and analyzes its BAW filter

products and knew or should have known that Akoustis’ BAW filter products are polycrystalline.

Moreover, Akoustis knew or should have known that U.S. Patent No. 10,256,786 covered only

single-crystal piezoelectric layers.

       109.    Akoustis falsely marked the Accused Products with purpose or intent to deceive the

public that the Accused Products were covered by U.S. Patent No. 10,256,786 in violation of 35

U.S.C. § 292. Akoustis engaged in the false marketing of its products to support a claim that the

products are innovative and result in superior performance. Akoustis’ false marking is material

because it is likely to influence the purchasing decisions of the target customers. Akoustis’ false

marking has competitively injured, and is likely to further competitively injure, Qorvo by diverting

sales from target customers and through loss of their goodwill.

       110.    Qorvo is entitled to compensatory damages in an amount to be determined at trial.

       E.      Count V - Unfair and Deceptive Trade Practices Prohibited by N.C.G.S. § 75-
               1.

       111.    Qorvo incorporates by reference the allegations of paragraphs 1 through 110 set

forth above.

       112.    By virtue of the aforesaid acts, Akoustis has engaged in unfair or deceptive acts or

practices and in unfair methods of competition affecting commerce in the state of North Carolina.

Such acts violate the North Carolina Unfair and Deceptive Trade Practices Act, N.C.G.S. § 75-

1.1.

       113.    Qorvo owns and possesses the Qorvo BAW Proprietary Information and employed

the Ex-Qorvo BAW Employees.




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       114.    Qorvo’s business is dependent on its ability to attract and keep key technical

personnel and management.        Qorvo has invested substantial time, effort, and expense in

developing its employees’ knowledge and experience in the areas crucial to Qorvo’s BAW filter

technologies, including in RF engineering, integrated circuit and filter design, and technical

marketing and support.

       115.    Akoustis has engaged in conscious, methodical, and systematic recruitment and

solicitation of Qorvo’s employees in all major areas. On information and belief, a large number

of Akoustis’ current employees are ex-Qorvo employees. As detailed above, these include many

employees with significant technical and business experience crucial to BAW filter technology,

such as the Ex-Qorvo BAW Employees.

       116.    Akoustis is seeking to damage Qorvo’s business through the recruiting and hiring

away from Qorvo the Ex-Qorvo BAW Employees. This poaching is intended to damage Qorvo

by attrition, rather than by fair competition in the marketplace.

       117.    Moreover, as described above, the Ex-Qorvo BAW Employees have significant

knowledge of the Qorvo BAW Proprietary Information, and were placed by Akoustis in positions

with substantial responsibility that overlapped with those employees’ previous roles at Qorvo such

that disclosure of the Qorvo BAW Proprietary Information was inevitable. On information and

belief, the Ex-Qorvo BAW Employees were hired for the specific purpose of using their

knowledge and experience of Qorvo’s BAW filter business to permit Akoustis to compete directly

against Qorvo for customers and market share.

       118.    The Qorvo BAW Proprietary Information derives independent economic value,

actual or potential, from not being known generally to, and not being readily ascertainable through




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proper means by, another person who can obtain economic value from the disclosure or use of the

information.

       119.    Qorvo expended substantial effort, time, and capital in developing, maintaining,

and possessing the Qorvo BAW Proprietary Information that it incorporated into its highly

successful BAW filter products.

       120.    During their employment by Qorvo, the Ex-Qorvo BAW Employees hired by

Akoustis had access to the Qorvo BAW Proprietary Information.

       121.    Following the termination of their employment, the Ex-Qorvo BAW Employees

were not authorized to disclose, share, use, or possess the Qorvo BAW Proprietary Information.

       122.    Akoustis was aware that the Ex-Qorvo BAW Employees it recruited and hired had

entered into binding agreements with Qorvo that prohibited the employees from taking, disclosing,

using, sharing, or possessing the Qorvo BAW Proprietary Information.

       123.    On information and belief, Akoustis requested the Ex-Qorvo BAW Employees to

disclose, use, or share the Qorvo BAW Proprietary Information as part of Akoustis’ recruitment

process, or otherwise expected the Ex-Qorvo BAW Employees to disclose, use, or share, the Qorvo

BAW Proprietary Information as part of their employment at Akoustis, or implemented a hiring

scheme that resulted in the Ex-Qorvo BAW Employees inevitably disclosing, using, or sharing,

the Qorvo BAW Proprietary Information as part of their employment at Akoustis.

       124.    On information and belief, Ex-Qorvo BAW Employees have disclosed, shared, or

used the Qorvo BAW Proprietary Information, at least inevitably, as part of their job

responsibilities at Akoustis.




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        125.    On information and belief, the Ex-Qorvo BAW Employees will continue to

disclose, share, or use the Qorvo BAW Proprietary Information as part of their job responsibilities

at Akoustis unless and until they are enjoined by this Court from doing so.

        126.    On information and belief, the poaching of the Ex-Qorvo BAW Employees and the

misappropriation of the Qorvo BAW Proprietary Information has resulted in Akoustis being able

to bring its “3-7 GHz BAW RF filter portfolio,” including the Accused Products, to market in a

timeframe that is highly unlikely, if not impossible, without these unfair practices. Akoustis’ “3-

7 GHz BAW RF filter portfolio,” has been placed in commerce in North Carolina, and interstate

and foreign commerce, within the past four years.

        127.    As a result of Akoustis’ wrongful conduct, Qorvo has been substantially and

irreparably harmed in an amount not readily capable of determination and for which there is no

adequate remedy at law. Unless restrained by this Court, Akoustis will cause further irreparable

injury to Plaintiff.

        128.    Qorvo is entitled to preliminary and permanent injunctive relief enjoining Akoustis,

its agents and employees, and all persons acting in concert or participation with Akoustis, from

engaging in any further poaching of Qorvo employees and/or use of the Qorvo BAW Proprietary

Information.

        129.    Moreover, Akoustis has engaged in unfair or deceptive acts or practices and unfair

methods of competition affecting commerce in the state of North Carolina through Akoustis’ false

or misleading representations to the target customers and investors that Akoustis’ BAW filters are

of a “single crystal” construction. Akoustis’ false or misleading representations that its BAW

filters are “single crystal” actually deceives, or has the tendency to deceive, the target customers,

and its representations are material because they are likely to influence the purchasing decisions




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of the target customers. Akoustis’ false or misleading representations have competitively injured,

and are likely to further competitively injure, Qorvo by diverting sales from target customers and

through loss of their goodwill.

        130.   On information and belief, Akoustis has made and will continue to make substantial

profits and/or gains to which it is not in law or equity entitled.

        131.   On information and belief, Akoustis’ violations of N.C.G.S. § 75-1.1 have directly

and proximately caused and continue to cause Qorvo substantial actual damages in North Carolina

and throughout the United States, and Qorvo is entitled to recover actual damages in an amount to

be proven at trial

        132.   Pursuant to N.C.G.S. § 75-1.16 and N.C.G.S. § 75-1.6.1 Qorvo is entitled to treble

damages and attorney fees for Akoustis’ unfair and deceptive trade practices and unfair methods

of competition.

VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Qorvo respectfully prays for relief as follows:

        1)     Enter a judgment that Akoustis has directly and indirectly infringed the Patents-in-

Suit;

        2)     Award Qorvo damages in an amount sufficient to compensate it for Akoustis’

infringement of the Patents-in-Suit, together with pre-judgment and post-judgment interest and

costs, and all other damages permitted under 35 U. S. C. § 284;

        3)     Find that Akoustis’ infringement of the Patents-in-Suit has been willful and

deliberate;

        4)     Enter a judgment awarding Qorvo treble damages as a result of Akoustis’ willful

and deliberate infringement of the Patents-in-Suit, pursuant to 35 U.S.C. § 284;




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        5)      Find that Akoustis’ actions render this an exceptional case under 35 U.S.C. § 285

and award Qorvo its attorneys’ fees, costs and expenses;

        6)      Preliminarily and permanently enjoin, pursuant to 35 U.S.C. § 283, Akoustis, and

all affiliates, employees, agents, officers, directors, attorneys, successors, and assigns, and all those

acting on behalf of or in active concert or participation with any of them, from further infringing

the Patents-in-Suit;

        7)      Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

in active concert or participation with any of them, from further falsely advertising the properties

of its BAW filters;

        8)      Award Qorvo damages in an amount sufficient to compensate it for Akoustis’ false

advertising;

        9)      Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

in active concert or participation with any of them, from further falsely marking its BAW filters;

        10)     Award Qorvo damages in an amount sufficient to compensate it for Akoustis’ false

patent marking;

        11)     Preliminarily and permanently enjoin Akoustis, and all affiliates, employees,

agents, officers, directors, attorneys, successors, and assigns, and all those acting on behalf of or

in active concert or participation with any of them, from further unfair and deceptive trade practices

pursuant to N.C. Gen. Stat. § 75-1-1;

        12)     Award Qorvo damages in an amount sufficient to compensate it for Akoustis’

further unfair and deceptive trade practices;




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       13)     Award Qorvo treble damages and attorney fees in view of Akoustis’ violation of

N.C. Gen. Stat. § 75-1-1;

       14)     Order a full and complete accounting to Qorvo for Akoustis’ profits, gains,

advantages or the value of business opportunities received from the foregoing acts of infringement;

       15)     Award Qorvo all actual, compensatory, consequential, liquidated, treble, and

special damages to which it is entitled in an amount to be determined at trial;

       16)     Assess punitive damages against Akoustis;

       17)     Award Qorvo all attorneys’ fees and costs to which it is entitled associated with

bringing and prosecuting this action;

       18)     Award pre-judgment and post-judgment interest against Akoustis; and

       19)     Award Qorvo such other and further relief as the Court deems just and proper.

DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure and D. Del. LR 38.1, Qorvo

demands a trial by jury on all issues raised by the Complaint.

                                                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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